                            UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WISCONSIN


MICHAEL T. DEBRASKA, et al.,
                                      Plaintiff(s),

                           v.                                   Plaintiff’s Motion for Restraining Order
                                                                             Ex Parte Hearing
                                                                            Case No. 20-C-1321
ONEIDA BUSINESS COMMITTEE, et al.,
                        Defendant(s).


HONORABLE WILLIAM C. GRIESBACH presiding                                           Time Called: 4:42 p.m.
Proceeding Held: August 27, 2020                                                Time Concluded: 4:54 p.m.
Deputy Clerk: Cheryl                                                                      Tape: 082720

Appearances:

    Plaintiff(s):      Linda Dallas Pro se

    Defendant(s):      No Appearance

This case was filed late this afternoon. The complaint has not been served and the matter comes before the
Court ex parte.

Linda Dallas appears for the plaintiffs and herself pro se. Ms. Dallas explains the basis of the restraining order.
The Court inquires as to the Oneida election process. The Court explains that it can not grant relief at this time.
The Court explains the criteria for a restraining order and the likelihood of success on the merits. The Court
discusses tribal sovereignty.

The Court denies the motion for expedited relief and explains to Ms. Dallas how the case may proceed through
the court.

Ms. Dallas and the Court discuss constitutional protections and other law that may or may not apply.

The Court informs Ms. Dallas that all plaintiffs must sign the complaint. Ms. Dallas will submit the other
plaintiffs’ signatures to the clerk. A signature page is sufficient rather than filing an amended complaint with
the added signatures.




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